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                         THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

                Plaintiff,

     v.                                              CIVIL ACTION NO.
 CHECKVIDEO, LLC,
                                                     JURY TRIAL DEMANDED

                Defendant.




                                         COMPLAINT


        Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or “Rothschild

Broadcast Distribution Systems”) files this complaint against CheckVideo, LLC (“CheckVideo”)

for infringement of U.S. Patent No. 8,856,221 (hereinafter the “`221 Patent”) and alleges as

follows:

                                           PARTIES

1.      Plaintiff is a Texas limited liability company with an office at 1 East Broward Boulevard,

Suite 700, Ft. Lauderdale, FL 33301.

2.      On information and belief, Defendant is a Delaware limited liability company, with a place

of business at 6402 Arlington Blvd., Lobby Level, Falls Church, VA 22042. On information and

belief, Defendant may be served through its agent, Corporation Service Company, 251 Little Falls

Drive, Wilmington, DE 19808.
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                                 JURISDICTION AND VENUE

3.       This action arises under the patent laws of the United States, 35 U.S.C. § 271 et seq.

Plaintiff is seeking damages, as well as attorney fees and costs.

4.       Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal Question) and

1338(a) (Patents).

5.       On information and belief, this Court has personal jurisdiction over Defendant because

Defendant has committed, and continues to commit, acts of infringement in this District, has

conducted business in this District, and/or has engaged in continuous and systematic activities in

this District.

6.       Upon information and belief, Defendant’s instrumentalities that are alleged herein to

infringe were and continue to be used, imported, offered for sale, and/or sold in the District.

7.       Venue is proper in this District under 28 U.S.C. §1400(b) because Defendant is deemed to

reside in this District.

                                        BACKGROUND

8.       On October 7, 2014, the United States Patent and Trademark Office (“USPTO”) duly and

legally issued the `221 Patent, entitled “System and Method for Storing Broadcast Content in a

Cloud-Based Computing Environment” after the USPTO completed a full and fair examination.

The ‘221 Patent is attached as Exhibit A.

9.       Rothschild Broadcast Distribution Systems is currently the owner of the `221 Patent.

10.      Rothschild Broadcast Distribution Systems possesses all rights of recovery under the `221

Patent, including the exclusive right to recover for past, present and future infringement.

11.      The `221 Patent contains thirteen claims including two independent claims (claims 1 and

7) and eleven dependent claims.
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                                        COUNT ONE
                      (Infringement of United States Patent No. 8,856,221)

12.      Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the same as if set

forth herein.

13.      This cause of action arises under the patent laws of the United States and, in particular

under 35 U.S.C. §§ 271, et seq.

14.      Defendant has knowledge of its infringement of the `221 Patent, at least as of the service

of the present complaint.

15.      The ‘221 Patent teaches a method and apparatus for media content storage and delivery.

‘221 Patent, Abstract. Among other things, the claimed system includes a server, which has a

receiver in communication with a processor. Id. The receiver receives a request message. Id. The

request message includes media data indicating requested media content and a consumer device

identifier corresponding to a consumer device. Id. The processor determines whether the consumer

device identifier corresponds to a registered consumer device. Id. If the processor determines that

the consumer device identifier corresponds to the registered consumer device, then the processor

determines whether the request message is one of a storage request message and a content request

message. Id. If the request message is the storage request message, then the processor is further

configured to determine whether the requested media content is available for storage. Id. If the

request message is the content request message, then the processor initiates delivery of the

requested media content to the consumer device. Id.

16.      The present invention solves problems that existed with then-existing media delivery

systems. One problem with prior delivery systems is that the customer was charged according to

the expenses of the provider rather than the usage of the customer. ‘221 Patent, 1:31-57.

Customers were not charged based on the amount of programming delivered or the amount or
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duration of the customer’s storage of media. Id. Another such problem, more generally, is that

customers were not billed and services were not provided, in a way that was tailored to the

customer’s needs and usage. Id., 2:3-13.

17.      A number of aspects of the invention(s) embodied in the ‘221 Patent overcome the

problems with the prior art.      For example, the inventive system includes a processor in

communication with a receiver. Id., 2:23-34.         The processor determines media content

characteristics that correspond to the media content to be stored. Id. The processor determines a

length of time to store the media content based on the media data and determines a cost amount

based at least in part on the determined media content characteristics and length of time to store

the media content. Id. As another example, the system makes a determination that media content

is available for download. Id., 2:64-3:2. A determination is made that content is not stored.

Download of the media content is initiated. Id. The media content is received and the received

media content is stored. Id.

18.      The ‘221 Patent is directed to computerized technologies to provide users with tailored

media delivery systems and tailored billing for such systems. Among other things, the ‘221 Patent

claims include sending and receiving of request messages indicating requested media content and

including a device identifier corresponding to a consumer device. A determination is made

whether the identifier corresponds to the device. A determination is also made as to whether the

request is for delivery or storage. The media data in the request includes time data that indicates

a length of time for storage. A processor is configured to determine whether requested media

exists and whether there are any restrictions associated with delivery or storage of the requested

media.
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19.      The system(s) and methods of the ‘221 Patent include software and hardware that do not

operate in a conventional manner. For example, the software is tailored to provide functionality

to perform recited steps and the processor is configured (and/or programmed) to provide

functionality recited throughout the claims of the ‘221 Patent.

20.      The ‘221 Patent solves problems with the art that are rooted in computer technology and

that are associated with electronic transmission, loading, and storage of location information, as

well as automatic provisioning of route guidance. The ‘221 Patent claims do not merely recite the

performance of some business practice known from the pre-Internet world along with the

requirement to perform it on the Internet.

21.      The improvements of the ‘221 Patent and the features recited in the claims in the ‘221

Patent provide improvements to conventional hardware and software systems and methods. The

improvements render the claimed invention of the ‘221 Patent non-generic in view of conventional

components.

22.      The improvements of the ‘221 Patent and the features recitations in the claims of the ’221

Patent are not those that would be well-understood, routine or conventional to one of ordinary skill

in the art at the time of the invention.

23.      Upon information and belief, Defendant has infringed and continues to infringe one or

more claims, including at least Claim 7, of the ‘221 Patent by making, using, importing, selling,

and/or offering for media content storage and delivery systems and services covered by one or

more claims of the ‘221 Patent.

24.      Accordingly, Defendant has infringed, and continues to infringe, the `221 Patent in

violation of 35 U.S.C. § 271.
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25.      Defendant sells, offers to sell, and/or uses media content storage and delivery systems and

services, including, without limitation, the CheckVideo video recording security platform,

including any associated apps, software and/or hardware, and any similar products (“Product”),

which infringes at least Claim 7 of the ‘221 Patent.

26.      The Product practices a method of storing (e.g., cloud storage) media content (e.g., video

recording) and delivering requested media content (e.g., recorded video) to a consumer device

(e.g., mobile device with app). Certain aspects of these elements are illustrated in the screenshots

below and/or in those provided in connection with other allegations herein.
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27.      The Product necessarily includes a receiver configured to receive a request message

including data indicating requested media content (e.g., the Product must have infrastructure to

receive a request to store recorded media content or to stream recorded media content on a

smartphone; additionally, the request message must contain data that identifies the content to be

stored or streamed) and a consumer device identifier corresponding to a consumer device (e.g., the

user credentials are used to access the contents of the Product). Certain aspects of these elements

are illustrated in the screenshots below and/or in those provided in connection with other

allegations herein.
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28.    The Product necessarily determines whether the consumer device identifier corresponds to

the registered consumer device (e.g., a user must be a registered user to access the Product’s

services). Certain aspects of these elements are illustrated in the screenshots below and/or in those

provided in connection with other allegations herein.

29.    The Product provides for both media downloads and/or storage, and media streaming. After

a successful login, the Product necessarily determines whether the request received from a

customer is a request for storage (e.g., recording or storing content) or content (e.g., streaming of

media content). Certain aspects of these elements are illustrated in the screenshots below and/or

in those provided in connection with other allegations herein.
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30.    The Product verifies that media content identified in the media data of the storage request

message (e.g., request to record content) is available for storage in order to prevent data errors that

would result from attempting to store content that is not available for storage. The Product must

verify that the media content (e.g. specific recording) identified in the media data of the storage

request message is available for storage in order to prevent data errors that would result from

attempting to store content that is not available for storage (e.g., the product must verify a user’s

ability to store media is limited to a certain amount of memory usage based upon their subscription;

thus, media content may not be available for storage if a user is already above their memory limit

or if he hasn’t subscribed to any service). Certain aspects of these elements are illustrated in the

screenshots below and/or in those provided in connection with other allegations herein.
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31.    If a customer requests content (e.g., streaming of media content), then a processor within

the Product necessarily initiates delivery of the content to the customer’s device. The Product will

initiate delivery of the requested media content to the consumer device (e.g., stream media content

feed to a smartphone or tablet etc.) if the request message is a content request message (e.g., request
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for live streaming). Certain aspects of these elements are illustrated in the screen shots below

and/or in screen shots provided in connection with other allegations herein.
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32.   The media data includes date and time information that indicates a length of time to store

the requested media content (e.g., a user is allowed to store media content for a retention period

time as per their subscription level, which varies from 3 days to 31 days or add-on option from 2

months to 2 years in the cloud). Certain aspects of these elements are illustrated in the screenshots

below and/or in those provided in connection with other allegations herein.
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33.       The Product must first determine whether the requested media content exists prior to

initiating delivery in order to prevent data errors that would result from attempting to transmit

media content that does not exist (e.g., the product must verify that a particular requested data is

stored in the cloud). Certain aspects of these elements are illustrated in the screenshots below

and/or in those provided in connection with other allegations herein.

34. After the processor determines whether the requested media content is available, it determines

whether there are restrictions associated with the requested media content (e.g., user access

restrictions, etc.). Certain aspects of these elements are illustrated in the screenshots provided in

connection with other allegations herein.

35.   Defendant’s actions complained of herein will continue unless Defendant is enjoined by this

Court.

36. Defendant’s actions complained of herein is causing irreparable harm and monetary damage

to Plaintiff and will continue to do so unless and until Defendant is enjoined and restrained by this

Court.

37.      The `221 Patent is valid, enforceable, and was duly issued in full compliance with Title 35

of the United States Code.

38.      A copy of the ‘221 Patent, titled “System and Method for Storing Broadcast Content in a

Cloud-based Computing Environment,” is attached hereto as Exhibit A.

39.      By engaging in the conduct described herein, Defendant has injured Plaintiff and is liable

for infringement of the `221 Patent, pursuant to 35 U.S.C. § 271.

40. Defendant has committed these acts of literal infringement, or infringement under the doctrine

of equivalents of the `221 Patent, without license or authorization.
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41.      As a result of Defendant’s infringement of the `221 Patent, injured Plaintiff has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

42.   Plaintiff is in compliance with 35 U.S.C. § 287.

43.   As such, Plaintiff is entitled to compensation for any continuing and/or future infringement

of the `221 Patent up until the date that Defendant ceases its infringing activities.

                                  DEMAND FOR JURY TRIAL

44.      Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal Rules of Civil

Procedure, requests a trial by jury of any issues so triable by right.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff asks the Court to:

(a) Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;


(b) Enter an Order enjoining Defendant, its agents, officers, servants, employees, attorneys, and

all persons in active concert or participation with Defendant who receives notice of the order from

further infringement of United States Patent No. 8,856,221 (or, in the alternative, awarding

Plaintiff running royalty from the time judgment going forward);


(c) Award Plaintiff damages resulting from Defendants infringement in accordance with 35 U.S.C.

§ 284;


(d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under law or

equity.
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Dated: April 30, 2021                  Respectfully submitted,

                                       GAWTHROP GREENWOOD, PC

                                       /s/ David W. deBruin
                                       David W. deBruin, Esq. (#4846)
                                       3711 Kennett Pike, Suite 100
                                       Wilmington, DE 19807
                                       Tel: (302) 777-5353
                                       ddebruin@gawthrop.com


                                      Attorneys for Plaintiff

Jay Johnson, Equire
(Pro Hac Vice Application Pending)
State Bar No. 24067322
KIZZIA JOHNSON, PLLC
1910 Pacific Ave., Suite 13000
Dallas, Texas 75201
(214) 451-0164
Fax: (214) 451-0165
jay@kjpllc.com
